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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------X
TAKISHA REID,
                                                                    NOTICE OF PLAINTIFF’S
                                   Plaintiff,                       MOTION TO VACATE
                                                                    ORDER AND JUDGMENT
                                                                    PURSUANT TO FED. R. CIV.
                                                                    P. 60(B)
                 -against-
                                                                    20-CV-03926-PK

CITY OF NEW YORK, et al.,

                                    Defendants.
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        PLEASE TAKE NOTICE, that upon the Declaration of Matthew Christiana, dated April

29, 2025; the Declaration of Takisha Reid, dated April 29, 2025, the accompanying Memorandum

of Law, dated April 29, 2025, all exhibits annexed hereto; and all prior pleadings and proceedings

had herein, Plaintiff Takisha Reid will move this Court, before the Honorable Peggy Kuo, at the

United States Courthouse for the Eastern District of New York, located at 225 Cadman Plaza East,

Brooklyn, New York 11201, at a date and time to be determined by the Court, for an Order

pursuant to Federal Rule of Civil Procedure 60 vacating this Court’s Order and Judgement

granting summary judgment in favor of Defendant City of New York as to Plaintiff’s Negligent

Screening, Hiring, Retention, and Training claim, and dismissing Defendant City as a defendant,

together with such other and further relief as the Court deems just and proper.




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       PLEASE TAKE FURTHER NOTICE that, pursuant to the Court’s April 16, 2025

Scheduling Order, Defendant City’s response, if any, must be served upon Plaintiff and filed by

May 19, 2025; and Plaintiff’s reply papers, if any, shall be served and filed by May 27, 2025.



Dated: Brooklyn, New York
April 29, 2025


                                     By:      ___________________________
                                             Matthew Christiana
                                             KOPKE CHRISTIANA & RASTETTER LLP
                                             199 Cook Street, Suite 308
                                             Brooklyn New York, 11206

                                             Attorney for Plaintiff Takisha Reid




cc:    BY E.C.F.
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